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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                             8:25CR96

        vs.
                                                                                ORDER
DOUGLAS ALLEN VOYLES, SR.,

                        Defendant.


       This matter is before the Court on Defendant's Unopposed Motion to Extend Deadline for Filing
Pretrial Motions. (Filing No. 16). The motion is unopposed by the government. For good cause shown,
the Court finds the motion should be granted. Accordingly,

       IT IS ORDERED:


       1)      Defendant's Unopposed Motion to Extend Deadline for Filing Pretrial Motions, (Filing No.
               16), is granted.
       2)      Pretrial motions shall be filed by July 3, 2025.
       3)      In accordance with 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of justice will
               be served by granting this motion and outweigh the interests of the public and the defendant
               in a speedy trial. Any additional time arising as a result of the granting of this motion, that
               is, the time between today's date and July 3, 2025, shall be deemed excludable time in any
               computation of time under the requirement of the Speedy Trial Act. Failure to grant this
               motion would deny counsel the reasonable time necessary for effective preparation, taking
               into account the exercise of due diligence, and the novelty and complexity of the case. The
               failure to grant this motion might result in a miscarriage of justice.           18 U.S.C. §
               3161(h)(7)(A) & (B). Failing to timely object to this order as provided under this court’s
               local rules will be deemed a waiver of any right to later claim the time should not have
               been excluded under the Speedy Trial Act.

       Dated this 15th day of May, 2025.

                                                          BY THE COURT:

                                                          s/ Ryan C. Carson
                                                          United States Magistrate Judge
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